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 9
10                        UNITED STATES DISTRICT COURT

11                             DISTRICT OF COLUMBIA

12
     UNITED STATES OF AMERICA,                        Case No. 1:21-cr-00246-ABJ-1
13
                  Plaintiff,                            NOTICE OF PUBLIC
14                                                     AUTHORITY DEFENSE
           v.
15
     DANIEL RODRIGUEZ,
16
                  Defendant.
17
18
19          Daniel Rodriguez, by and through counsel, hereby gives notice pursuant to

20   Federal Rule of Criminal Procedure 12.3 that he may assert as a defense at trial
21
     that he was acting under public authority.1
22
     I.    RULE 12.3
23
     (a) Notice of the Defense and Disclosure of Witnesses.
24
25
26         1
             Rule 12.3(a)(1) provides that the defendant must file the instant notice
     within the time provided for filing pretrial motions, or at any later time the Court
     sets.
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 1         (1) Notice in General. If a defendant intends to assert a defense
           of actual or believed exercise of public authority on behalf of a
 2         law enforcement agency or federal intelligence agency at the
           time of the alleged offense, the defendant must so notify an
 3         attorney for the government in writing and must file a copy of
           the notice with the clerk within the time provided for filing a
 4         pretrial motion, or at any later time the court sets. The notice
           filed with the clerk must be under seal if the notice identifies a
 5         federal intelligence agency as the source of public authority.
 6         (2) Contents of Notice. The notice must contain the following
           information:
 7
                         (A) the law enforcement agency or federal
 8                       intelligence agency involved;
 9
                         (B) the agency member on whose behalf the
10                       defendant claims to have acted; and

11                       (C) the time during which the defendant claims to
                         have acted with public authority.
12
     II.   NOTICE
13
           A Public Authority Defense, while also stemming from the due process
14
     clause, is grounded in the Federal Rules of Criminal Procedure that requires
15
16   notice to the Government. See Fed. R. Crim. P. 12.3. The foundation of the
17   public authority defense is that it offends due process to convict an individual
18
     who was acting upon authorization of a government official. See United States v.
19
20   Doe, 705 F.3d 1134, 1145 (9th Cir. 2013). The genesis of the authority defense is

21   the decision in United States v. Barker, 546 F. 2d 940 (D.C. Cir. 1976).
22         In United States v. Barker, defendants were recruited to participate in a
23
     national security operation led by a White House official, whom the defendants
24
25   had previously known as a CIA agent. Barker, 546 F.2d at 949. In reversing the

26   defendants’ convictions, the appellate court carved out an exception to the



                                                2
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 1   mistake of law rule that would allow exoneration of a defendant who relied on
 2
     authority. Id. at 947-49.
 3
           While it is not settled how this Circuit has interpreted Barker for purposes
 4
 5   of an affirmative defense, counsel for Mr. Rodriguez is filing this Notice out of an

 6   abundance of caution.
 7
           In Accordance with Rule 12.3, Mr. Rodriguez is noticing the following,
 8
     tracking the requirements listed above:
 9
10                (A) The Executive Branch - the law enforcement agency or federal

11                   intelligence agency involved;
12
                  (B) Former President Donald Trump - the agency member on whose
13
                     behalf the defendant claims to have acted; and
14
15                (C) On or about January 6, 2021 - the time during which the

16                   defendant claims to have acted with public authority.
17
           Dated: October 15, 2021.
18
19                                             Respectfully submitted,

20                                             RENE L. VALLADARES
21                                             Federal Public Defender

22                                            /s/Rebecca A. Levy
                                              /s/Margaret W. Lambrose
23                                        By: /s/Katherine Tanaka
                                              REBECCA A. LEVY
24
                                              MARGARET W. LAMBROSE
25                                            KATHERINE TANAKA
                                              Assistant Federal Public Defenders
26
                                               Attorneys for Daniel Rodriguez



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 1                          Certificate of Electronic Service
 2
           The undersigned hereby certifies that she is an employee of the Federal
 3
     Public Defender for the District of Nevada and is a person of such age and
 4
 5   discretion as to be competent to serve papers.

 6         That on October 15, 2021, she served an electronic copy of the above and
 7
     foregoing NOTICE OF PUBLIC AUTHORITY DEFENSE by electronic service
 8
     (ECF) to the person named below:
 9
10
11                CHANNING D. PHILLIPS
                  United States Attorney
12                Kimberly L. Paschall
                  Risa Berkower
13                Tara Ravindra
                  Assistant United States Attorneys
14                555 4th Street, NW
                  Washington, DC 20530
15
16                                             /s/ Cecilia Valencia
                                               Employee of the Federal Public
17                                             Defender

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